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                                                            U.S. Department of Justice
                                                            United States Attorney
                                                            District of Maryland

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                                                            February 25, 2022

The Honorable Catherine C. Blake
United States District Court
for the District of Maryland
101 W. Lombard St.
Baltimore, MD 21201

           RE:        Status Report
                      United States of America v. Burnette, et. al.
                      CCB-19-036

Dear Judge Blake:

       The Government submits this status report in the above-captioned case. Since the last
update in November 2021, the Government filed a Third Superseding Indictment charging an
additional four defendants (Zeno Burnette, Devin Mitchell, Wayne Gilliam and Jawaun Harris)
and addition overt acts.

        Status of Charged Defendants: All but one defendant had their initial appearance in this
matter. Devin Mitchell continues to be held in the Baltimore County Detention Center pending a
competency evaluation. The Government intends to transport him to federal court once a report
is generated. All the defendants are held pending trial.

           Mr. Carter and Mr. Coleman recently received new counsel.

        The Government held a reverse proffer for each charged defendant, except Mr. Grier who
received a reverse proffer after the filing of the original indictment. The last reverse proffer was
held for Mr. Harris on February 15, 2022.

       Pending Motions: The Government submits that the following motions require witness
testimony or other evidence prior to the Court’s rulings: ECF 342, 344, 346, and 454. The Court
requested additional information regarding the search of Cawthorn’s cellphone before ruling on
that motion. ECF 580. Grier filed a pro se Motion to Dismiss on November 29, 2021. ECF 757.

        Court Dates: There are no court dates set in this matter. The toll of the speedy trial clock
runs on February 27, 2022, and the Government intends to request an additional 60-day toll. All
but one defendant, Mr. Johnson who objects, either consents or abstains from taking a position on
the request.
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       Discovery: The latest production was issued on February 11, 2022. The Government is
not aware of any current issue with the productions to date and is committed to working with
defense counsel to resolve any issues. The Government continues to receive social media and
cellphone downloads and will supplement discovery when these materials are available.

        Plea Negotiations: The Government provided each defendant with an oral offer during
their reverse proffer. The Government sent formal written agreements to Mr. Jeter, Mr. Chester,
and Mr. Nesmith. One defendant accepted the Government’s offer, and his re-arraignment date is
March 8, 2022.

       The Government respectfully requests the Court set another status update by the end of
April 2022.


                                                   Very truly yours,

                                                   Erek L. Barron
                                                   United States Attorney

                                                   ____/s/______________________
                                                   Patricia McLane
                                                   Assistant United States Attorney


Filed via ECF on February 25, 2022
